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                                   1                     IN THE UNITED STATES DISTRICT COURT

                                   2                 FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4    SIDNEY NAIMAN,                          Case No. 17-cv-03806
                                   5               Plaintiff,                   ORDER GRANTING MOTIONS FOR
                                                                                FINAL APPROVAL OF CLASS
                                   6          v.                                ACTION SETTLEMENT, ATTORNEYS’
                                                                                FEES AND COSTS, SERVICE
                                   7    TOTAL MERCHANT SERVICES, INC.           AWARD, AND COSTS OF
                                        and QUALITY MERCHANT SERVICES,          SETTLEMENT ADMINISTRATION
                                   8    INC.,
                                                                                (Dkt. Nos. 103, 104, 112)
                                   9               Defendants.
Northern District of California
  United States District Court




                                  10

                                  11
                                            This proposed class action arises out of alleged violations
                                  12
                                       of the Telephone Consumer Protection Act (TCPA), 47 U.S.C. § 227,
                                  13
                                       based on the making of unsolicited calls to cellular phones
                                  14
                                       without the recipients’ prior express consent.        Plaintiff Sidney
                                  15
                                       Naiman moves for final approval of a settlement agreement he
                                  16   reached with Defendant Total Merchant Services, Inc. (Total
                                  17   Merchant), which this Court preliminarily approved on November
                                  18   13, 2018.   See Docket No. 102.     Additionally, Naiman and his
                                  19   counsel move for an award of attorneys’ fees of twenty-five
                                  20   percent of the Settlement Fund, or $1,875,000; reimbursement of
                                  21   attorneys’ costs of $20,591.19; a $10,000 service award for
                                  22   Naiman; and costs of settlement administration not to exceed

                                  23   $128,530.   No party has opposed these motions, and no objections

                                  24   have been filed.    The Court held a final fairness hearing on

                                  25   April 2, 2019.    The parties filed supplemental materials

                                  26   containing information responsive to questions that the Court

                                  27   asked during the final fairness hearing.       See Docket Nos. 110,
                                       111, 112.   The Court GRANTS the motions as set forth below.
                                  28
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                                   1                                  BACKGROUND

                                   2   I.   Claims and Procedural History

                                   3        The Second Amended Complaint (2AC), filed on November 7,

                                   4   2017, is the operative complaint.2      2AC, Docket No. 41.       In that

                                   5   pleading, Plaintiff Sidney Naiman3 asserts claims under the TCPA4

                                   6   on his own behalf and on behalf of a proposed nationwide class

                                   7   against four defendants: Total Merchant; Quality Merchant

                                   8   Services, Inc. (Quality Merchant); Michael Alimento, the alleged

                                   9   owner of Quality Merchant; and Bobby Powers, the alleged
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                                  10   territory owner of Total Merchant.      Id. ¶¶ 4-7.

                                  11        The gravamen of the 2AC is that Quality Merchant made

                                  12   unsolicited, pre-recorded phone calls using an automatic

                                  13   telephone dialing system (ATDS) to the cellular phones of Naiman

                                  14   and other persons to market the services of Total Merchant.           Id.

                                  15   ¶¶ 55-67.    Naiman alleges that he never consented to receiving

                                  16   these calls and that such calls caused him injury because his

                                  17   cell phone provider charged him for them and because they

                                  18
                                  19
                                            2   The original complaint was filed on July 5, 2017.        Docket
                                       No. 1.
                                  20
                                            3 The 2AC contains individual and proposed class claims under
                                       the TCPA by a second plaintiff, Timothy Collins, whose claims
                                  21   were dismissed from the action by stipulation on August 31, 2018.
                                       Docket No. 91. Collins’ claims were based on allegations that
                                  22   Defendant Bobby Powers sent him and others unsolicited facsimile
                                       advertisements on behalf of Total Merchant. 2AC ¶¶ 41-54.
                                  23   Because these claims and allegations have been dismissed and are
                                       not a part of the Settlement Agreement, they are not addressed in
                                  24   the remainder of this Order.
                                            4 The TCPA makes it unlawful, in relevant part, “to make any

                                  25   call (other than a call made for emergency purposes or made with
                                       the prior express consent of the called party) using an automatic
                                  26   telephone dialing system or an artificial or prerecorded
                                       voice . . . to any telephone number assigned to a . . . cellular
                                  27   telephone service . . . or any service for which the called party
                                       is charged for the call[.]” 47 U.S.C. § 227(b)(1)(A). The TCPA
                                  28   provides a private cause of action to persons who receive calls
                                       in violation of that statute.
                                                                        2
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                                   1   rendered his cell phone unavailable for other calls.         He also

                                   2   alleges that Total Merchant is vicariously liable for the calls

                                   3   at issue because Quality Merchant made them on behalf of Total

                                   4   Merchant.

                                   5        Naiman conducted discovery, including written discovery and

                                   6   depositions.     Declaration of Anthony I. Paronich ¶¶ 4-9, Docket

                                   7   No. 103-7.    Naiman also filed motions to compel Defendants to

                                   8   produce documents, and to strike an answer to a prior iteration

                                   9   of the complaint.5    Id.
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                                  10        On June 21, 2018, the parties filed a stipulated dismissal

                                  11   without prejudice of all claims asserted against Michael

                                  12   Alimento.    Docket No. 77.    On April 11, 2019, Naiman filed a

                                  13   notice dismissing without prejudice all claims against Bobby

                                  14   Powers, who has not appeared in the action.        Docket No. 111.

                                  15        Naiman filed a motion for class certification on July 10,

                                  16   2018.    Docket No. 80.     While the motion for class certification

                                  17   was pending, on July 24, 2018, Naiman and Total Merchant

                                  18   participated in a mediation before mediator Peter Grill in

                                  19   Florida.     Paronich Decl. ¶ 5.   The case did not settle on that

                                  20   date, but the parties continued their arm’s-length negotiations

                                  21   and ultimately reached a settlement agreement on August 29, 2018.6

                                  22   Id. ¶ 2.

                                  23

                                  24        5 The motion to strike, which was granted, pertained to the
                                  25   answer filed on behalf of Quality Merchant. See Docket No. 53.
                                            6 The Settlement Agreement was not signed by Quality

                                  26   Merchant, even though Quality Merchant continues to be a
                                       Defendant. It was signed only by Plaintiff and his counsel, and
                                  27   Total Merchant and its counsel. See Settlement Agreement at 46,
                                       Docket No. 92-1. Total Merchant is defined in the Settlement
                                  28   Agreement as including any of its agents, including Quality
                                       Merchant. Settlement Agreement § 1.24, Docket No. 92-1.
                                                                        3
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                                   1   II.     Preliminary Approval of the Settlement Agreement

                                   2           On August 31, 2018, Naiman filed a motion for preliminary

                                   3   approval of a class action settlement.       Docket No. 92.       The Court

                                   4   held a hearing on this motion, which was unopposed, on October 9,

                                   5   2018.    In accordance with the Court’s comments at the hearing,

                                   6   the parties modified certain provisions of the Settlement

                                   7   Agreement (SA), Docket No. 92-1, and filed a stipulation

                                   8   reflecting such changes, see Stipulation as to Changes to Class

                                   9   Action Settlement, Docket No. 101-1.
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                                  10           The Court granted preliminary approval of the modified

                                  11   settlement agreement (Final Settlement Agreement) on November 13,

                                  12   2018.    Order, Docket No. 102.   The Court appointed Plaintiff

                                  13   Naiman as representative of the Settlement Class and his

                                  14   attorneys as Class Counsel for the Settlement Class.          Id. ¶¶ 3-4.

                                  15   The Court also appointed Epiq Class Action & Claims Solutions,

                                  16   Inc. (Epiq) as Settlement Administrator.       Id. ¶ 8.

                                  17           Under the terms of the Final Settlement Agreement, Total

                                  18   Merchant agreed to pay $7,500,000 into a non-reversionary

                                  19   Settlement Fund, out of which the following expenses will be

                                  20   paid: (1) attorneys’ fees not to exceed twenty-five percent of

                                  21   the Settlement Fund, or $1,875,000; (2) attorneys’ costs (which

                                  22   are not specified in the Settlement Agreement, but which Naiman

                                  23   represented in his motion for preliminary approval as totaling no

                                  24   more than $20,591.19); (3) an incentive award to Plaintiff Naiman

                                  25   of up to $10,000; and (4) costs of settlement administration

                                  26   (which are not specified in the Settlement Agreement but which

                                  27   Epiq estimates will not exceed $128,530).

                                  28   //
                                                                           4
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                                   1        Any funds remaining in the Settlement Fund after these

                                   2   expenses are paid will constitute the Settlement Class Recovery,

                                   3   which will be distributed pro rata to Settlement Class members

                                   4   who filed a valid claim by February 4, 2019, based on the number

                                   5   of calls they received relative to the number of calls received

                                   6   by class members who filed valid claims.       SA §§ 1.43, 4.3, 5.4;

                                   7   Order, Docket No. 102 ¶ 24.

                                   8        The Court conditionally certified a Settlement Class for

                                   9   settlement purposes only comprised of:
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                                  10        All persons within the United States to whom Quality
                                            Merchant Services, Inc., Michael Alimento, and/or
                                  11
                                            Brian Alimento made a telephone call using the
                                  12        Spitfire dialing software7 and/or system to any
                                            telephone number assigned to a cellular telephone
                                  13        service for the purpose of promoting Defendant’s goods
                                            or services from July 5, 2013 through June 8, 2018.
                                  14        These individuals are identified on the Class List.
                                            Excluded from the Settlement Class are the following:
                                  15
                                            (i) any trial judge who may preside over this Action;
                                  16        (ii) Defendant; (iii) any of the Released Parties;
                                            (iv) Class Counsel and their employees; (v) the
                                  17        immediate family of any of the foregoing Persons; (vi)
                                            any member of the Settlement Class who has timely
                                  18        submitted a Request for Exclusion by the
                                            Objection/Exclusion Deadline; and (vii) any Person who
                                  19        has previously given a valid release of the claims
                                  20        asserted in the Action.
                                            Docket No. 101-1 ¶ 5; Docket No. 102 (emphasis added).
                                  21
                                            Any amounts remaining in the Settlement Fund after the
                                  22
                                       initial round of distributions will be re-distributed to
                                  23
                                       Settlement Class members who submitted valid claims in a second
                                  24
                                       round, also on a pro rata basis based on the number of calls each
                                  25
                                       received relative to the number of calls received by class
                                  26
                                  27

                                  28
                                            7 The Spitfire dialer is a type of ATDS that Quality Merchant
                                       allegedly used to make the calls at issue. Docket No. 104 at 2.
                                                                        5
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                                   1   members who filed valid claims, except that no check of less than

                                   2   five dollars will be issued.      SA § 4.3(d); Docket No. 101-1 ¶ 7.

                                   3   Any amounts remaining after the second round of distributions

                                   4   will be distributed to the National Consumer Law Center.8          SA §§

                                   5   4.3(d), 1.15; Docket No. 101-1 ¶ 7.

                                   6          No distributions to the Settlement Class members will be

                                   7   made until the settlement becomes “effective,” (i.e., the Court

                                   8   issues an order finally approving the Settlement Agreement and

                                   9   dismissing the action with prejudice, or all appeals are
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                                  10   finalized and dismissed and the Settlement Agreement is left

                                  11   materially intact).     SA §§ 1.18, 4.3(a).     Payments to Settlement

                                  12   Class members who filed a valid claim will be made within 60 days

                                  13   of the “effective date.”      Id. § 4.3(b).

                                  14   III.   Notice, Objections, and Exclusions

                                  15          The Court approved the proposed Class Notice, as revised and

                                  16   reflected in Docket No. 101-1.       It required Epiq to set up a

                                  17   website containing a “long form” notice and other information

                                  18
                                  19          The Court finds that the National Consumer Law Center is an
                                              8
                                       appropriate cy pres recipient. Naiman has shown that the work of
                                  20   this organization, which is national in scope, is sufficiently
                                       tethered to the objectives of the TCPA. See Koby v. ARS Nat’l
                                  21   Servs., Inc., 846 F.3d 1071, 1080 (9th Cir. 2017) (holding that a
                                       cy pres award must be “tethered to the objectives of the
                                  22   underlying statutes or the interests of the class members,” which
                                       includes having a geographic nexus). Other courts have approved
                                  23   cy pres distributions to the National Consumer Law Center in
                                       consumer class actions, including ones under the TCPA. See,
                                  24   e.g., Lee v. Glob. Tel*link Corp., No. 215CV02495ODWPLA, 2018 WL
                                       4625677, at *9 (C.D. Cal. Sept. 24, 2018) (noting that “[t]he
                                  25   National Consumer Law Center advocates against automated calls
                                       and will further the goals of the absent class members” and
                                  26   granting final approval to settlement in TCPA class action
                                       wherein the National Consumer Law Center is cy pres recipient);
                                  27   Miller v. Ghirardelli Chocolate Co., No. 12-CV-04936-LB, 2015 WL
                                       758094, at *9 (N.D. Cal. Feb. 20, 2015) (approving National
                                  28   Consumer Law Center as cy pres recipient in consumer class
                                       action).
                                                                        6
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                                   1   relevant to the Final Settlement Agreement and this litigation,

                                   2   and to set up a toll-free number; it also required Epiq to mail

                                   3   via first-class mail a postcard notice by December 4, 2018, “to

                                   4   the names and addresses associated with the telephone numbers of

                                   5   the Settlement Class as reflected in the Class List.”         SA §

                                   6   7.2(a); Order, Docket No. 102 ¶ 10.

                                   7         The total number of phone numbers that were called as part

                                   8   of the telemarketing campaign at issue was 50,417.         See Supp.

                                   9   Submission at 2, Docket No. 110; Supp. Declaration of Angie
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                                  10   Birdsell ¶¶ 4-7, Docket No. 110-1.      The total number of people

                                  11   associated with these phone numbers is 51,035; accordingly, the

                                  12   Class List and the Settlement Class contain 51,035 people.           Id.

                                  13   Epiq was able to obtain addresses for members of the Settlement

                                  14   Class as follows.   Epiq received a list of 50,417 affected phone

                                  15   numbers, as well as 160 spreadsheets containing 224,046 names,

                                  16   physical addresses, and phone numbers potentially relating to

                                  17   users of the 50,417 affected numbers.       Id.   Only 40,588 numbers

                                  18   could be matched to contact information based on these records;

                                  19   Epiq sent the remaining 9,829 phone numbers to third parties

                                  20   (including Pacific East, LexisNexis, and Transunion) to perform

                                  21   “reverse lookups,” which resulted in addresses for 9,719 numbers.

                                  22   Id.

                                  23         In total, Epiq was able to obtain 51,035 addresses.         Supp.

                                  24   Birdsell Decl. ¶ 7.    Before mailing the postcards, Epiq checked

                                  25   the available addresses against the National Change of Address

                                  26   Database and made any necessary adjustments to the addresses.

                                  27   Declaration of Cameron Azari ¶ 14, Docket No. 104-1.         Epiq then

                                  28   mailed 51,035 postcard notices on December 4, 2018.         Id. ¶ 15.      A
                                                                           7
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                                   1   total of 8,559 postcards were returned as undeliverable.           Id. ¶

                                   2   18.   The Settlement Administrator will maintain records of

                                   3   attempts and actual deliveries of the postcard notice for at

                                   4   least five years.   Docket No. 101 at 8.

                                   5         The deadline to request an exclusion from the Settlement

                                   6   Agreement, to object, or to submit a claim was February 4, 2019.

                                   7   Order, Docket No. 102 ¶ 24.     4,424 people filed valid claims,

                                   8   twenty-eight opted out, and none objected.        Azari Decl. ¶¶ 24-25;

                                   9   see also Docket No. 104-1 at 70 (listing the twenty-eight opt-
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                                  10   outs).

                                  11                                   ANALYSIS

                                  12         The settlement of class claims requires court approval.

                                  13   Fed. R. Civ. P. 23(e).    Where the parties settle their claims

                                  14   before the class has been certified, courts “must peruse the

                                  15   proposed compromise to ratify both (1) the propriety of the

                                  16   certification and (2) the fairness of the settlement.”            Staton v.

                                  17   Boeing Co., 327 F.3d 938, 952 (9th Cir. 2003).

                                  18   I.    The Settlement Class Can Be Certified for Settlement Purposes

                                  19         The Court first must determine whether the Settlement Class

                                  20   satisfies the requirements of Rule 23(a): numerosity,

                                  21   commonality, typicality, and adequacy of representation.           See

                                  22   Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998).

                                  23   The Court also must determine whether the Settlement Class is

                                  24   maintainable under Rule 23(b)(1), (2), or (3).        Id. at 1022.

                                  25         The Settlement Class, as defined above, satisfies these

                                  26   requirements and can be certified for settlement purposes.

                                  27         The Settlement Class includes more than 50,000 persons,

                                  28   which meets the numerosity requirement.       There are questions of
                                                                           8
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                                   1   law and fact common to the Settlement Class members, including

                                   2   whether the telemarketing campaign at issue violated the TCPA and

                                   3   whether Defendant Total Merchant is vicariously liable for

                                   4   Quality Merchant’s actions as part of that campaign.         The claims

                                   5   of Naiman are typical of the claims of the Settlement Class

                                   6   members because they arise from the same conduct by Defendants

                                   7   and are based on the same legal theories.       Naiman and his counsel

                                   8   will fairly and adequately represent the interests of the

                                   9   Settlement Class; the record lacks any indication that Naiman or
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                                  10   his counsel has any conflict of interest with members of the

                                  11   Settlement Class, and it shows that counsel have significant

                                  12   experience in litigating complex class actions such as this one.

                                  13        The Court further finds that, under Rule 23(b)(3), (1)

                                  14   questions of law and fact common to the Settlement Class members,

                                  15   such as whether Quality Merchant made the calls at issue using an

                                  16   automated telephone dialing system or a pre-recorded message;

                                  17   whether Quality Merchant acted willfully when making the calls at

                                  18   issue; and whether Total Merchant is vicariously liable for the

                                  19   calls made by Quality Merchant, predominate over any questions

                                  20   affecting only individual Settlement Class members; and (2) a

                                  21   class action is superior to other available methods for the fair

                                  22   and efficient adjudication of the claims, because, in the absence

                                  23   of a class action vehicle, members of the Settlement Class likely

                                  24   would not litigate their claims against Defendants individually

                                  25   given that the potential recovery for each is modest relative to

                                  26   the costs required to pursue individual litigation.

                                  27   //

                                  28
                                                                           9
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                                   1   II.   The Settlement Is Fair, Adequate, and Reasonable

                                   2         Next, the Court must determine whether the proposed

                                   3   settlement is “fundamentally fair, adequate, and reasonable.”

                                   4   Staton, 327 F.3d at 959.      The determination to approve or reject

                                   5   a settlement is committed to the Court’s sound discretion.

                                   6   Hanlon, 150 F.3d at 1026.

                                   7         To determine whether a settlement is fair, adequate, and

                                   8   reasonable, the Court must evaluate several factors, including

                                   9   (1) the strength of the plaintiff’s case; (2) the risk, expense,
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                                  10   complexity, and likely duration of further litigation; (3) the

                                  11   risk of maintaining class action status throughout the trial; (4)

                                  12   the amount offered in settlement; (5) the extent of discovery

                                  13   completed, and the stage of the proceedings; (6) the experience

                                  14   and views of counsel; (7) the presence of a governmental

                                  15   participant; and (8) the reaction of the class members to the

                                  16   proposed settlement.    Id.   In addition, the Court must ensure

                                  17   that the settlement is not collusive.       In re Mego Fin. Corp. Sec.

                                  18   Litig., 213 F.3d 454, 458 (9th Cir. 2000).

                                  19         A.   The Strength of Plaintiffs’ Case and the Risk, Expense,
                                                  Complexity, and Likely Duration of Further Litigation
                                  20

                                  21         This factor weighs in favor of granting final approval of

                                  22    the Final Settlement Agreement.

                                  23         Naiman represents that the discovery exchanged to date would

                                  24    enable him to present a strong case against Quality Merchant;

                                  25    this evidence shows that Quality Merchant knowingly made

                                  26    unsolicited telemarketing calls to members of the Settlement

                                  27    Class using an ATDS.    That said, Naiman would not be able to

                                  28    obtain a meaningful recovery for the Settlement Class from
                                                                           10
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                                   1   Quality Merchant because this Defendant’s net worth currently is

                                   2   $25,000.   Docket No. 101- 1 ¶ 4.       To recover against Total

                                   3   Merchant, Naiman would need to establish that this Defendant is

                                   4   vicariously liable for the calls that Quality Merchant allegedly

                                   5   made on its behalf.    Establishing vicarious liability in the

                                   6   context of the TCPA requires a showing of control under common

                                   7   law principles of agency.     See Jones v. Royal Administration

                                   8   Serv’s, Inc., 887 F.3d 443, 450 (9th Cir. 2018) (“A defendant is

                                   9   vicariously liable for violations of the TCPA where common law
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                                  10   principles of agency would impose it.”).       Because this inquiry is

                                  11   fact-intensive and requires the consideration of a variety of

                                  12   factors, continuing to litigate claims against Total Merchant

                                  13   under a theory of vicarious liability carries significant risk

                                  14   and could result in no recovery for the Settlement Class.          See

                                  15   id. (affirming entry of summary judgment in favor of defendant on

                                  16   the ground that the defendant did not exercise sufficient control

                                  17   over the persons who made calls in violation of the TCPA and

                                  18   therefore could not be vicariously liable for such calls).

                                  19       Moreover, continued litigation would require investing

                                  20   additional time and resources on discovery, class certification,

                                  21   dispositive and discovery motions, trial, and appeals.

                                  22   Accordingly, obtaining significant and immediate recovery for the

                                  23   Settlement Class is superior to taking the risk of recovering

                                  24   less or nothing by continuing to litigate.

                                  25       B.     The Risk of Maintaining Class Action Status Throughout
                                                  the Trial
                                  26
                                  27       This factor is neutral.      Naiman notes that, even if this

                                  28   Court were to grant a motion for class certification, there is a
                                                                          11
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                                   1   risk that Total Merchant “might later succeed in moving to

                                   2   decertify.”    Docket No. 104 at 9.     Naiman cites cases in his

                                   3   motion for final approval in which courts failed to certify TCPA

                                   4   class actions on the ground that individual questions relating to

                                   5   prior express consent9 to receiving calls such as the ones at

                                   6   issue would predominate over common issues.         See, e.g., Bavat v.

                                   7   Bank of the W., No. C-13-2376 EMC, 2015 WL 1744342, at *4 (N.D.

                                   8   Cal. Apr. 15, 2015) (finding that there is a significant risk

                                   9   that the plaintiffs would be unable to maintain class-action
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                                  10   status through trial because “courts are divided as to whether

                                  11   issues of individual consent predominate over common questions in

                                  12   TCPA class actions”) (citation and internal quotation marks

                                  13   omitted); Donaca v. Dish Network, LLC., 303 F.R.D. 390, 401 (D.

                                  14   Colo. 2014) (denying motion for certification of TCPA class based

                                  15   in part on the absence of evidence that common issues predominate

                                  16   over individual questions of consent).        Accordingly, the Court

                                  17   cannot conclude that class certification in this action could be

                                  18   maintained, or not, through trial.

                                  19       C.     The Amount Offered in Settlement

                                  20        This factor weighs in favor of granting final approval.

                                  21   Naiman asserts that, in light of the significant risks of

                                  22   continuing with this litigation, the Settlement Agreement offers

                                  23   the Settlement Class “exceptional legal relief.”          Docket No. 104

                                  24   at 9.    The $7,500,000 that Total Merchant has agreed to pay to

                                  25   settle this action represents more than six percent of the

                                  26   maximum recovery for the Settlement Class, which would be

                                  27

                                  28
                                            9    Prior express consent is an affirmative defense under the
                                       TCPA.    See 47 U.S.C. § 227(b).
                                                                         12
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                                   1   $117,639,000 for all 235,278 calls at issue, assuming a recovery

                                   2   of $500 per call.10    The recovery under the Final Settlement

                                   3   Agreement is higher than what other courts have approved in TCPA

                                   4   class actions.    See, e.g., Pimental v. Google Inc., No. 11-CV-

                                   5   02585-YGR, 2013 WL 12177158, at *3 (N.D. Cal. June 26, 2013)

                                   6   (granting final approval to TCPA class settlement where “a $6

                                   7   million common fund achieves approximately 3% of the maximum

                                   8   possible recovery”).

                                   9        The recovery per class member, given 51,035 Settlement Class
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                                  10   members, would be $146.96 based on the total Settlement Fund of

                                  11   $7,500,000.    Actual distributions to class members, however, will

                                  12   be limited to the 4,424 Settlement Class members who filed valid

                                  13   claims.    This distribution will be based on the number of

                                  14   telephone calls that the claimants received, which is 23,357; the

                                  15   average payment to these claimants will be $1,186 or $227 per

                                  16   phone call.    Azari Decl. ¶ 25.

                                  17        The recovery per Settlement Class member and per claimant is

                                  18   much greater than what courts have approved in other TCPA

                                  19   actions.   See, e.g., Bayat, No. C-13-2376 EMC, 2015 WL 1744342,

                                  20   at *5 (granting final approval to settlement in TCPA action where

                                  21   the recovery per class member was $2.84 and the average recovery

                                  22   per claimant was $151).

                                  23        The Court also takes into account that Total Merchant and

                                  24   Quality Merchant have committed to ending their use of automatic

                                  25   telephone dialing systems and prerecorded voice messages to

                                  26   contact cellular telephones for telemarketing purposes without

                                  27

                                  28
                                            10The TCPA provides a recovery of $500 per violation.         See
                                       47 U.S.C. § 227(b)(3).
                                                                       13
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                                   1   the recipients’ prior express written consent.         Docket No. 101-1

                                   2   at 2.     Furthermore, Total Merchant has ended its relationship

                                   3   with Quality Merchant.      SA § 4.2.

                                   4        D.      The Extent of Discovery Completed and the Stage of the
                                                    Proceedings
                                   5

                                   6        Significant discovery was conducted prior to settlement.

                                   7   Naiman propounded written discovery on Defendants and conducted

                                   8   depositions, which resulted in 60,000 pages of produced documents

                                   9   and more than 300 pages of deposition transcripts.         Docket No.
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                                  10   104 at 4.    Naiman also retained an expert to assist in the review

                                  11   of the discovery produced by Defendants and to identify potential

                                  12   violations of the TCPA, direct or vicarious.        Id. at 10-11.

                                  13        Additionally, as discussed above, Naiman engaged in some

                                  14   motion practice, including filing a motion to strike an answer, a

                                  15   couple of motions to compel discovery, and a motion for class

                                  16   certification, the latter of which became moot when the parties

                                  17   reached a settlement agreement.

                                  18        Accordingly, the parties had sufficient information about

                                  19   the strengths and weaknesses of their positions prior to

                                  20   negotiating and entering into the Settlement Agreement, which

                                  21   weighs in favor of granting final approval.        In re Mego, 213 F.3d

                                  22   at 459 (factor weighed in favor of approving settlement where

                                  23   plaintiffs had conducted significant discovery and consulted with

                                  24   damages and accounting experts).

                                  25        E.      The Experience and Views of Counsel

                                  26        Naiman’s counsel have significant experience in litigating

                                  27   complex actions, including, in particular, TCPA and other

                                  28   consumer class actions.     Declaration of Edward Broderick ¶¶ 2-9,

                                                                           14
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                                   1   Docket No. 92-2; Declaration of Jon Fougner ¶¶ 4-13, Docket No.

                                   2   92-3; Declaration of Andrew Heidarpour ¶¶ 3-4, Docket No. 92-4;

                                   3   Declaration of Matthew McCue ¶¶ 2-10, Docket No. 92-5; Paronich

                                   4   Decl. ¶¶ 3-5.     Accordingly, Naiman’s counsel are in a position to

                                   5   understand the strengths and weaknesses of his and the Settlement

                                   6   Class’ claims, as well as the risks of continued litigation.

                                   7           Naiman’s counsel represent that the Settlement Agreement is

                                   8   fair, reasonable, and adequate and in the best interests of the

                                   9   Settlement Class.     Broderick Decl. ¶ 12; Fougner Decl. ¶ 15;
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                                  10   Heidarpour Decl. ¶ 6; McCue Decl. ¶ 13; Paronich Decl. ¶ 17.

                                  11   Accordingly, this factor weighs in favor of final approval.         In

                                  12   re Pac. Enters. Sec. Litig., 47 F.3d 373, 378 (9th Cir. 1995)

                                  13   (“Parties represented by competent counsel are better positioned

                                  14   than courts to produce a settlement that fairly reflects each

                                  15   party’s expected outcome in litigation.”).

                                  16           F.    No Governmental Agency Has Objected or Expressed
                                                     Concern
                                  17

                                  18           CAFA requires that notice be provided to the appropriate

                                  19   state and federal officials within ten days of the filing of a

                                  20   proposed class action settlement.        See 28 U.S.C. § 1715(b).   “An

                                  21   order giving final approval of a proposed settlement may not be

                                  22   issued earlier than 90 days after the later of the dates on which

                                  23   the appropriate Federal official and the appropriate State

                                  24   official are served with the notice required under subsection

                                  25   (b).”    Id. § 1715(d).

                                  26           Representatives of Epiq filed declarations indicating that

                                  27   Epiq mailed notice of the Settlement Agreement on the appropriate

                                  28   state and federal officials on September 10, 2018, as required by
                                                                           15
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                                   1   CAFA.    Declaration of Stephanie J. Fiereck ¶¶ 5-7, Docket No.

                                   2   104-1; see also Azari Decl. ¶ 11, Docket No. 104-1.

                                   3        More than ninety days have elapsed since September 10, 2018,

                                   4   and no government entity has filed an objection to the Settlement

                                   5   Agreement.    Accordingly, this factor weighs in favor of granting

                                   6   final approval.    See Garner v. State Farm Mut. Auto. Ins. Co.,

                                   7   08-cv-1365 CW (EMC), 2010 WL 1687832, at *15 (N.D. Cal. Apr. 22,

                                   8   2010) (“Although CAFA does not create an affirmative duty for

                                   9   either state or federal officials to take any action in response
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                                  10   to a class action settlement, CAFA presumes that, once put on

                                  11   notice, state or federal officials will raise any concerns that

                                  12   they may have during the normal course of the class action

                                  13   settlement procedures.”).

                                  14       G.       The Settlement Class Members’ Response

                                  15       The reaction of the Settlement Class Members to the Final

                                  16   Settlement Agreement supports granting final approval.             Out of

                                  17   51,035 members of the Settlement Class, 4,424 filed valid claims,

                                  18   only twenty-eight opted out, and none objected.         Azari Decl. ¶¶

                                  19   24-25; see also Docket No. 104-1 at 70 (listing the twenty-eight

                                  20   opt-outs).    The Court finds that the lack of a significant number

                                  21   of opt-outs and the absence of any objections strongly supports a

                                  22   finding that the Settlement Class members’ reaction to the

                                  23   settlement is positive.

                                  24       The Court also finds that the notice program satisfied the

                                  25   requirements of Federal Rule of Civil Procedure 23 and due

                                  26   process.   The notice approved by the Court and disseminated by

                                  27   Epiq constituted the best practicable method for informing the

                                  28
                                                                           16
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                                   1   class about the Final Settlement Agreement and relevant aspects

                                   2   of the litigation.

                                   3         In accordance with the notice plan approved by the Court on

                                   4   November 13, 2018, Epiq created a website and toll-free number.

                                   5   The website, which contained the “long form” notice and other

                                   6   relevant information about the Final Settlement Agreement and

                                   7   related filings, was accessed by 12,259 visitors.11         Azari Decl. ¶

                                   8   20.   The toll-free number, which was listed in all forms of

                                   9   notice, received 1,299 calls.      Id. ¶ 22.    Epiq also sent a
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                                  10   postcard notice by first-class mail to 51,035 addresses.           Id. ¶

                                  11   15.   Only 8,559 postcard notices were returned as undeliverable.

                                  12   Id. ¶ 18.   The postcard notices reached approximately eighty-

                                  13   three percent of Settlement Class members.

                                  14         The Court recognizes that only eighty-three percent of the

                                  15   Settlement Class members received actual notice by mail, but this

                                  16   does not weigh against granting final approval because neither

                                  17   due process nor Rule 23 requires that all class members receive

                                  18   actual notice.   Silber v. Mabon, 18 F.3d 1449, 1454 (9th Cir.

                                  19   1994) (rejecting argument that “notice must actually be received

                                  20   to provide an opportunity to opt out for purposes of due process”

                                  21   and holding that “the appropriate standard is the best notice

                                  22   practicable”) (citation and internal quotation marks omitted).

                                  23   Here, the method for disseminating notice was the best

                                  24   practicable in light of the circumstances.        Addresses for all

                                  25

                                  26          The website was inaccessible from December 7 to 10, 2018.
                                             11
                                       To notify the Settlement Class members of this issue and its
                                  27   resolution, Epiq, at its own expense, mailed a follow-up postcard
                                       on December 28, 2018, to 43,616 members of the Settlement Class
                                  28   who had not filed a claim or whose initial postcard notice had
                                       not been returned as undeliverable. Azari Decl. ¶ 21.
                                                                       17
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                                   1   class members were not available, even after consulting records

                                   2   produced in discovery and performing reverse lookups.

                                   3   Accordingly, combining the postcard notice with other methods of

                                   4   delivering information to the class, such as the website and

                                   5   toll-free number discussed above, satisfy the requirements of due

                                   6   process and Rule 23.    See Fed. R. Civ. P. 23(c)(2)(B) (“[T]he

                                   7   Court must direct to class members the best notice that is

                                   8   practicable under the circumstances, including individual notice

                                   9   to all members who can be identified through reasonable
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                                  10   effort.”).

                                  11        Further, other courts have approved TCPA settlements where a

                                  12   similar percentage of the settlement class received actual notice.

                                  13   See, e.g., Mendez v. C-Two Grp., Inc., No. 13-CV-05914-HSG, 2017

                                  14   WL 2861118, at *4 (N.D. Cal. July 5, 2017) (granting final

                                  15   approval of settlement in TCPA class action where eighty-eight

                                  16   percent of the settlement class received actual notice by email);

                                  17   Estrada v. iYogi, Inc., No. CV21301989WBSCKD, 2016 WL 310279, at

                                  18   *2 (E.D. Cal. Jan. 26, 2016) (granting final approval to

                                  19   settlement in TCPA action where the notice was “successfully

                                  20   delivered” by email to eighty-five percent of the settlement

                                  21   class).

                                  22        H.    The Settlement is Not Collusive

                                  23        Where a settlement is negotiated prior to formal class

                                  24   certification, such an agreement “must withstand an even higher

                                  25   level of scrutiny for evidence of collusion or other conflicts of

                                  26   interest than is ordinarily required under Rule 23(e) before

                                  27   securing the court’s approval as fair.”        In re Bluetooth Headset

                                  28
                                                                           18
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                                   1   Prods. Liab. Litig., 654 F.3d 935, 946-47 (9th Cir. 2011)

                                   2   (citation omitted).

                                   3        Here, the Court finds no indication that the Settlement

                                   4   Agreement is the result of collusion or is tainted by conflicts

                                   5   of interest.    No portion of the Settlement Fund will revert to

                                   6   Total Merchant.    The Settlement Agreement does not contain a

                                   7   clear-sailing provision, that is, Defendants have not made an

                                   8   agreement not to object to Class Counsel’s request for attorneys’

                                   9   fees.    Cf. id. (holding that “multiple indicia of possible
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                                  10   implicit collusion” existed where the settlement included a

                                  11   “clear sailing agreement” and undistributed funds would revert to

                                  12   the defendant).

                                  13        Further, the record indicates that Naiman and his counsel

                                  14   have adequately represented the interests of the Settlement

                                  15   Class.    The settlement was reached after a mediation conducted at

                                  16   arm’s length.     Class Counsel have not requested, nor will they

                                  17   receive, a disproportionate distribution from the Settlement

                                  18   Fund.    As noted above, the recovery that each Settlement Class

                                  19   member will receive is significant and much higher than what

                                  20   courts have approved as fair in other, similar actions.            The

                                  21   distribution of settlement funds to each claimant will be pro

                                  22   rata, based on the number of calls each claimant received

                                  23   relative to the number of calls received by class members who

                                  24   filed valid claims.    The Court finds that this method of

                                  25   allocation is reasonable and treats members of the Settlement

                                  26   Class equitably relative to each other.

                                  27   //

                                  28
                                                                           19
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                                   1   III.    Service Awards

                                   2          Service awards to class representatives compensate them for

                                   3   the work they have done for the class, for the financial or

                                   4   reputational risk they have undertaken in bringing the action,

                                   5   and for their willingness to act as a private attorney general.

                                   6   In re Mego, 213 F.3d at 463; Rodriguez v. West Publishing Corp.,

                                   7   563 F.3d 948, 958–959 (9th Cir. 2009).       Requests for service

                                   8   awards may be evaluated using the following five factors: (1) the

                                   9   risk to the class representative in commencing a class action,
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                                  10   both financial and otherwise; (2) the notoriety and personal

                                  11   difficulties encountered by the class representative; (3) the

                                  12   amount of time and effort spent by the class representative; (4)

                                  13   the duration of the litigation; and (5) the personal benefit, or

                                  14   lack thereof, enjoyed by the class representative as a result of

                                  15   the litigation.    Van Vranken v. Atlantic Richfield Co., 901 F.

                                  16   Supp. 294, 299 (N.D. Cal. 1995).

                                  17          Naiman requests a service award of $10,000.       At the hearing

                                  18   on October 9, 2018, the Court indicated that the requested

                                  19   service award of $10,000 seemed high and encouraged Naiman to

                                  20   submit a declaration that would justify such a high award.             See

                                  21   Tr. at 17, Docket No. 99.

                                  22          Naiman’s declaration does not support an award of $10,000.

                                  23   It shows that his involvement was limited to collecting his own

                                  24   call records and reviewing documents with his counsel.             Naiman

                                  25   Decl. ¶¶ 3-4.     He did not sit for a deposition and did not have

                                  26   to respond to written discovery.

                                  27          In TCPA class actions in this district where the gross

                                  28   settlement fund was in the vicinity of the one here, courts have
                                                                           20
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                                   1   reduced requested service awards to amounts that are much less

                                   2   than what Naiman requests.     See, e.g., Etter v. Allstate Ins.

                                   3   Co., No. C 17-00184 WHA, 2018 WL 5791883, at *4, *1 (N.D. Cal.

                                   4   Nov. 4, 2018) (reducing requested service award of $7,500 to $500

                                   5   in TCPA class action where gross settlement fund was $6,533,250).

                                   6   Moreover, the Ninth Circuit has rejected service awards that were

                                   7   between 6.6 times to 192 times the recovery of the class members.

                                   8   See Radcliffe v. Experian Info. Sols. Inc., 715 F.3d 1157, 1165

                                   9   (9th Cir. 2013).    Here, an award of $10,000 would be more than
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                                  10   eight times the average payment to claimants of $1,186.

                                  11         Accordingly, the Court approves a service award for Naiman

                                  12   of $2,500, as this amount is more commensurate to his

                                  13   contributions and more proportional to the recovery of other

                                  14   claimants.

                                  15   IV.   Attorneys’ Fees

                                  16         Naiman’s counsel seek fees of $1,875,000, which is twenty-

                                  17   five percent of the $7,500,000 Settlement Fund.         Docket No. 103.

                                  18   Counsel ask that the Court evaluate their request using the

                                  19   percentage-of-recovery method in lieu of the lodestar method.

                                  20   Defendants have not opposed this request, and none of the members
                                       of the Settlement Class has filed objections to the same.
                                  21
                                             This Court is required to analyze a request for attorneys’
                                  22
                                       fees based on either (1) the lodestar method, or (2) a percentage
                                  23
                                       of the total benefit made available to the settlement class.         In
                                  24
                                       re Bluetooth, 654 F.3d at 942 (holding that “[w]here a settlement
                                  25
                                       produces a common fund for the benefit of the entire class,
                                  26
                                       courts have discretion to employ either the lodestar method or
                                  27

                                  28
                                                                           21
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                                   1   the percentage-of-recovery method” to determine the

                                   2   reasonableness of attorneys’ fees).

                                   3        The “lodestar method” is appropriate in class actions “where

                                   4   the relief sought — and obtained — is often primarily injunctive

                                   5   in nature and thus not easily monetized, but where the

                                   6   legislature has authorized the award of fees to ensure

                                   7   compensation for counsel undertaking socially beneficial

                                   8   litigation.”   Id. at 941.    The lodestar is produced by

                                   9   multiplying the number of hours reasonably expended by counsel by
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                                  10   a reasonable hourly rate.     See Kelly v. Wengler, 822 F.3d 1085,

                                  11   1099 (9th Cir. 2016).     Once the court has fixed the lodestar, it

                                  12   may increase or decrease that amount by applying a positive or

                                  13   negative “multiplier to take into account a variety of other

                                  14   factors, including the quality of the representation, the novelty

                                  15   and complexity of the issues, the results obtained and the

                                  16   contingent risk presented.”      Id.

                                  17        The percentage-of-recovery method is appropriate “in lieu of

                                  18   the often more time-consuming task of calculating the lodestar”

                                  19   where “the benefit to the class is easily quantified,” such as in

                                  20   common-fund settlements.     See In re Bluetooth, 654 F.3d at 942.

                                  21   Under the percentage-of-recovery method, courts in the Ninth

                                  22   Circuit typically calculate twenty-five percent of the fund as

                                  23   the “benchmark” for a reasonable fee award, providing adequate

                                  24   explanation in the record of any special circumstances justifying

                                  25   a departure.   Six (6) Mexican Workers v. Ariz. Citrus Growers,

                                  26   904 F.2d 1301, 1311 (9th Cir. 1990).       The benchmark should be

                                  27   adjusted when the percentage recovery would be “either too small

                                  28   or too large in light of the hours devoted to the case or other
                                                                           22
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                                   1   relevant factors.”    Id.   When considering whether to depart from

                                   2   the twenty-five percent benchmark, courts consider a number of

                                   3   factors, including whether class counsel “‘achieved exceptional

                                   4   results for the class,’ whether the case was risky for class

                                   5   counsel, whether counsel’s performance ‘generated benefits beyond

                                   6   the cash settlement fund,’ the market rate for the particular

                                   7   field of law (in some circumstances), the burdens class counsel

                                   8   experienced while litigating the case (e.g., cost, duration,

                                   9   foregoing other work), and whether the case was handled on a
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                                  10   contingency basis.”    In re Online DVD-Rental Antitrust Litig.,

                                  11   779 F.3d 934, 954-55 (9th Cir. 2015) (citation and internal

                                  12   quotation marks omitted).     The “most critical factor” in

                                  13   determining appropriate attorneys’ fee awards “is the degree of

                                  14   success obtained.”    Hensley v. Eckerhart, 461 U.S. 424, 436

                                  15   (1983).

                                  16        Here, the requested fees are twenty-five percent of the

                                  17   Settlement Fund, which is precisely at the twenty-five percent

                                  18   benchmark under the percent-of-recovery method.         The Court finds

                                  19   that the requested fees are reasonable in light of the highly

                                  20   favorable results obtained on behalf of the Settlement Class.         As

                                  21   discussed above, the recovery for the Settlement Class exceeds

                                  22   the recovery achieved in other TCPA class actions.         Additionally,

                                  23   counsel secured an agreement by Defendants to cease telemarketing

                                  24   activity that could violate the TCPA.       The Court also takes into

                                  25   account that counsel litigated this case on a contingency basis,

                                  26   and undertook the risk of ultimately recovering nothing by way of

                                  27   attorneys’ fees or costs, while foregoing other work.

                                  28        A cross-check of the requested fees against the lodestar
                                                                           23
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                                   1   shows that the lodestar is thirty-three percent of the requested

                                   2   fees of $1,875,000.      See Vizcaino v. Microsoft Corp., 290 F.3d

                                   3   1043, 1050 (9th Cir. 2002) (“Calculation of the lodestar, which

                                   4   measures the lawyers’ investment of time in the litigation,

                                   5   provides a check on the reasonableness of the percentage

                                   6   award.”).    Naiman’s counsel claim 1,194.4 hours, which includes

                                   7   some time that they intend to spend in connection with the final

                                   8   fairness hearing and settlement administration.         These hours are

                                   9   detailed in the chart below.      The lodestar is $624,859; the
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                                  10   requested fees of $1,875,000 correspond to a multiplier of three.

                                  11

                                  12   Attorney           Hourly rate        Total Hours        Lodestar
                                       Edward A.
                                  13                      $700               143.2              $100,240
                                       Broderick
                                  14
                                       Matthew P.         $700               225                $157,500
                                  15
                                       McCue
                                  16
                                       Jon B. Fougner     $500               203.7              $101,850
                                  17
                                       Andrew W.          $370               185.7              $68,709
                                  18
                                       Heidarpour
                                  19
                                       Anthony I.         $450               436.8              $196,560
                                  20
                                       Paronich
                                  21
                                       Total              N/A                1,194.4            $624,859
                                  22

                                  23        The Court finds that the hours claimed are reasonable and
                                  24   that the rates charged are commensurate with those charged by
                                  25   attorneys with similar experience who appear in this Court.
                                  26   Approving a multiplier of three of the lodestar is supported by
                                  27   the record, in light of the positive result that Naiman’s counsel
                                  28
                                                                           24
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                                   1   obtained for the Settlement Class and the risks they undertook in

                                   2   litigating this case, as discussed above.

                                   3   V.    Attorneys’ Costs

                                   4         Counsel for Naiman also have applied for reimbursement of

                                   5   actual expenses they incurred, totaling $20,591.19.         Docket No.

                                   6   103 at 20-21.12   The requested expenses, if approved by the Court,

                                   7   will be paid out of the Settlement Fund.        Defendants have not

                                   8   opposed the request for expenses, and none of the members of the

                                   9   Settlement Class has filed objections to the same.
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                                  10         The Court finds that the requested costs, which are for

                                  11   travel-related expenses, mediation, depositions, and other

                                  12   litigation expenses, appear to have been necessary to prosecute

                                  13   this action.    See Buccellato v. AT & T Operations, Inc., No. 10-

                                  14   cv-00463-LHK, 2011 WL 4526673, at *4 (N.D. Cal. June 30, 2011)

                                  15   (awarding requested litigation costs and related expenses as part

                                  16   of final settlement approval).      Further, these expenses are

                                  17   reasonable and of the type customarily billed to a fee-paying

                                  18   client.    Accordingly, the request for $20,591.19 in attorneys’

                                  19   costs is granted.

                                  20   VI.    Costs of Settlement Administration

                                  21         Epiq has incurred $107,764 in expenses to date in

                                  22   administering the settlement.      Supp. Birdsell Decl. ¶ 8, Docket

                                  23   No. 110-1.   Epiq represents that its total costs, including the

                                  24   disbursement of settlement funds and administration costs, will

                                  25

                                  26
                                              The motion for attorneys’ fees and costs, Docket No. 103,
                                             12

                                  27   provides that the total attorneys’ costs incurred were $24,176,
                                       but counsel for Naiman seek reimbursement of only $20,591.19
                                  28   “consistent with their promise to the Court and class members.”
                                       Id. at 20-21.
                                                                       25
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                                   1   not exceed $128,530, which is the same amount that Naiman

                                   2   represented in his motion for preliminary approval and that the

                                   3   Court preliminarily approved on November 13, 2018.         Id.

                                   4   Accordingly, the request for costs of settlement administration

                                   5   of not more than $128,530 is granted.

                                   6                                  CONCLUSION

                                   7        For the foregoing reasons, the Court rules as follows:

                                   8   1.   The Court has jurisdiction over the subject matter of this

                                   9        Action, over Plaintiff, over all members of the Settlement
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                                  10        Class, and over Defendants.

                                  11   2.   The Settlement Class, as defined above, satisfies the

                                  12        requirements of Rule 23 for settlement purposes only.

                                  13   3.   Plaintiff Sidney Naiman is appointed as Representative for

                                  14        the Settlement Class, and his counsel, Edward Broderick,

                                  15        Matthew McCue, Jon Fougner, Anthony Paronich, and Andrew

                                  16        Heidarpour, are appointed as Counsel for the Settlement

                                  17        Class.

                                  18   4.   The Court grants the motion for an award of $1,875,000 in

                                  19        attorneys’ fees, and attorneys’ costs and expenses of

                                  20        $20,591.19, both of which will be paid exclusively out of

                                  21        the Settlement Fund in accordance with the terms of the

                                  22        Final Settlement Agreement.         The Court, having considered

                                  23        the materials submitted by Counsel for the Settlement Class

                                  24        in support of final approval of the Final Settlement

                                  25        Agreement and their request for attorneys’ fees, costs, and

                                  26        expenses, and having received no objections thereto, finds

                                  27        the award of attorneys’ fees, costs, and expenses

                                  28        appropriate and reasonable, and the Court notes that the
                                                                           26
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                                   1        Class Notice specifically and clearly advised the Settlement

                                   2        Class that Counsel for the Settlement Class would seek the

                                   3        award.

                                   4   5.   The Court authorizes the payment of a service award of

                                   5        $2,500 for Naiman and specifically finds that amount to be

                                   6        reasonable in light of the service performed by Naiman for

                                   7        the Settlement Class.    This amount shall be exclusively paid

                                   8        from the Settlement Fund in accordance with the terms of the

                                   9        Final Settlement Agreement.        The incentive award will be
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                                  10        reported as “other income” in Box 3 of Form 1099-MISC.

                                  11   6.   The Court authorizes the payment of no more than $128,530 in

                                  12        settlement administration expenses to the Settlement

                                  13        Administrator, Epiq.    This amount shall be paid exclusively

                                  14        from the Settlement Fund in accordance with the terms of the

                                  15        Final Settlement Agreement.

                                  16   7.   The Court has determined that the Settlement Administrator

                                  17        employed the best practicable method of providing notice to

                                  18        the members of the Settlement Class, and provided individual

                                  19        notice to all members of the Settlement Class who could be

                                  20        identified through reasonable effort.       The Court finds that

                                  21        the class notice sent to the members of the Settlement Class

                                  22        satisfies the requirements of Rule 23 and due process.

                                  23   8.   Notice to the appropriate state and federal officials was

                                  24        properly and timely provided on September 10, 2018, as

                                  25        required by CAFA, 28 U.S.C. § 1715.       More than ninety days

                                  26        have elapsed since CAFA notice was provided.        No government

                                  27        entity has objected to the Settlement Agreement.

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                                   1   9.   All persons who made timely and valid requests for exclusion

                                   2        are excluded from the Settlement Class and are not bound by

                                   3        this Final Approval Order and Judgment.       The list of persons

                                   4        submitting notices seeking exclusion from the Settlement

                                   5        Class, submitted by the Settlement Administrator pursuant to

                                   6        the Preliminary Approval Order, is hereby accepted as the

                                   7        list of persons who have made timely and valid requests for

                                   8        exclusion.

                                   9   10. Pursuant to the Final Settlement Agreement, Total Merchant
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                                  10        has agreed to pay seven million five hundred thousand

                                  11        dollars ($7,500,000) to create the Settlement Fund.          Amounts

                                  12        awarded to Counsel for the Settlement Class or the

                                  13        Representative will be paid from the Settlement Fund.

                                  14        Members of the Settlement Class who have submitted a valid

                                  15        claim will receive a share of the Settlement Fund after

                                  16        attorneys’ fees and costs, the Representative’s award, and

                                  17        the costs of notice and administration are deducted.

                                  18        Defendants have also represented that they have taken steps

                                  19        to ensure compliance with respect to the telemarketing

                                  20        violations alleged in the Second Amended Complaint, Docket

                                  21        No. 41.

                                  22   11. The Court has read and considered the papers filed in

                                  23        support of the motions filed in connection with the Final

                                  24        Settlement Agreement, including the Settlement Agreement and

                                  25        the exhibits thereto, memoranda and arguments submitted on

                                  26        behalf of Naiman, Settlement Class members, and Defendants.

                                  27        The Court has not received any objections from any person

                                  28        regarding the Final Settlement Agreement.        The Court held a
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                                   1       final fairness hearing on April 2, 2019, at which time the

                                   2       parties were afforded the opportunity to be heard in support

                                   3       of or in opposition to the Final Settlement Agreement.

                                   4   12. As discussed above, the Court concludes that the Final

                                   5       Settlement Agreement is fair, adequate, and reasonable and

                                   6       in the best interests of the Settlement Class, as discussed

                                   7       in more detail above.

                                   8   13. The Settlement Administrator and the parties to the Final

                                   9       Settlement Agreement shall take all reasonable steps to
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                                  10       ensure that the settlement is effectuated in a manner

                                  11       consistent with this Court’s orders and the Final Settlement

                                  12       Agreement.

                                  13   14. If settlement payments exceed the threshold amounts that

                                  14       must be reported to the Internal Revenue Service by means of

                                  15       a Form 1099, Counsel for the Settlement Class and the

                                  16       Settlement Administrator will take all necessary and

                                  17       reasonable steps to obtain W-9’s from claimants and to

                                  18       comply with applicable IRS regulations on issuing 1099s

                                  19       without a social security number or tax entity

                                  20       identification number, and shall take all reasonable and

                                  21       necessary steps to avoid imposition of IRS penalties against

                                  22       the Settlement Fund, including, but not limited to, limiting

                                  23       payments to be below the reportable threshold and/or

                                  24       withholding of taxes and any applicable penalties.

                                  25   15. The Court orders the parties to the Final Settlement

                                  26       Agreement to perform their obligations thereunder.            The

                                  27       Final Settlement Agreement shall be deemed incorporated

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                                   1       herein as if explicitly set forth and shall have the full

                                   2       force of an order of this Court.

                                   3   16. In accordance with the Final Settlement Agreement, the

                                   4       Releasing Parties do hereby release and fully, finally, and

                                   5       forever discharge the Released Parties from all claims,

                                   6       debts, controversies, losses, liabilities, liens, demands,

                                   7       causes of action, suits, damages (including, but not limited

                                   8       to, actual, statutory, trebled, exemplary, or punitive),

                                   9       fees (including, but not limited to, attorneys’ fees),
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                                  10       expenses, and obligations of any kind or nature whatsoever,

                                  11       whether in law or in equity, whether known or unknown, fixed

                                  12       or contingent, claimed or unclaimed, direct or indirect,

                                  13       individual or representative, arising out of or that was

                                  14       made by Quality Merchant, Michael Alimento, and/or Brian

                                  15       Alimento on behalf of Total Merchant promoting Total

                                  16       Merchant goods or services by way of the actual or alleged

                                  17       use of the Spitfire dialing system arising under the TCPA or

                                  18       similar federal or state laws governing such matters, and

                                  19       any rule or regulation thereunder, including the claims

                                  20       alleged in the 2AC, from the beginning of time through the

                                  21       date of signature of this Final Settlement Agreement.         This

                                  22       release specifically extends to claims that the Releasing

                                  23       Parties do not know or suspect to exist in their favor as of

                                  24       the date of the Final Approval and Judgment, which release

                                  25       is meant to and constitutes a waiver and relinquishment,

                                  26       without limitation, of Section 1542 of the California Civil

                                  27       Code.   See Docket No. 101-1 ¶ 9.

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                                   1   17. Plaintiff and the Settlement Class members agree and

                                   2       covenant not to sue any of the Released Parties with respect

                                   3       to any of the Released Claims and agree forever to be barred

                                   4       from filing, instituting, maintaining, collecting,

                                   5       proceeding against, or seeking to establish liability

                                   6       against any of the Released Parties in any federal, state,

                                   7       or local court or forum, in or before any administrative

                                   8       agency, or in any other proceeding in any forum with respect

                                   9       to any of the Released Claims.       See Docket No. 101-1 ¶ 12.
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                                  10   18. The Court further orders that upon the Effective Date, the

                                  11       above-described releases and the Final Settlement Agreement

                                  12       will be binding on, and have res judicata and preclusive

                                  13       effect in, all pending and future lawsuits or other

                                  14       proceedings maintained by or on behalf of the Releasing

                                  15       Parties.

                                  16   19. Without affecting the finality of this Final Approval Order

                                  17       and Judgment in any way, the Court retains jurisdiction

                                  18       over: (a) implementation and enforcement of the Final

                                  19       Settlement Agreement until the final judgment contemplated

                                  20       hereby has become effective and each and every act agreed to

                                  21       be performed by the parties hereto pursuant to the Final

                                  22       Settlement Agreement has been performed; (b) any other

                                  23       action necessary to conclude the settlement and to

                                  24       administer, effectuate, interpret, and monitor compliance

                                  25       with the provisions of the Final Settlement Agreement; and

                                  26       (c) all parties to this Action and Settlement Class members

                                  27       for the purpose of implementing and enforcing the Final

                                  28       Settlement Agreement.
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                                   1   20. Neither this Final Approval Order and Judgment as to the

                                   2        Defendants nor the Final Settlement Agreement shall be

                                   3        construed or used as an admission or concession by or

                                   4        against the Defendants or any of the Released Parties of any

                                   5        fault, omission, liability, or wrongdoing, or the validity

                                   6        of any of the Released Claims in any action or proceedings

                                   7        whatsoever.    This Final Approval Order and Judgment is not a

                                   8        finding of the validity or invalidity of any claims in this

                                   9        Action or a determination of any wrongdoing by the Defendant
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                                  10        or any of the Released Parties.       The final approval of the

                                  11        Final Settlement Agreement does not constitute any opinion,

                                  12        position, or determination of this Court, one way or the

                                  13        other, as to the merits of the claims and defenses of

                                  14        Plaintiff, the Settlement Class members, or Defendants.

                                  15   21. The Court dismisses this Action with prejudice and without

                                  16        costs, except as otherwise provided herein.

                                  17        IT IS SO ORDERED.

                                  18
                                  19   Dated: April 16, 2019
                                                                                CLAUDIA WILKEN
                                  20                                            United States District Judge
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